72 F.3d 127NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    William C. LUCION, Plaintiff-Appellant,v.Doctor BERDEEN;  Lieutenant Brooks;  Sheriff Hudson;  D.W.Barnes;  V. May;  Doctor Tien;  P. Hines, LPN,Defendants-Appellees,andMedics;  R.K. Miller, Medic, Defendants.
    No. 95-7105.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 16, 1995.Decided Dec. 12, 1995.
    
      William C. Lucion, Appellant Pro Se.  Kevin Scott Blair, WOODS, ROGERS &amp; HAZLEGROVE, Roanoke, Virginia;  Carlyle Randolph Wimbish, III, SANDS, ANDERSON, MARKS &amp; MILLER, Richmond, Virginia, for Appellees.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Affirmed by unpublished per curiam opinion.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.*  Lucion v. Berdeen, No. CA-94-184-R (W.D.Va. June 15, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         We deny Appellant's motion for appointment of counsel
      
    
    